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                                                             FILED
                                                               AUG O6 2021
                                                         CLERK US DISTRICT COURT
                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                                      BY      ~               DEPUTY




                     IN TIIE UNITED STATES DISTRICT COURT

                 FOR TIIE SOUTHERN DISTRICT OF CALIFORNIA



 COLUMBIA SPORTSWEAR NORTH
 AMERICA, INC.,

                   Plaintiff,                  No. 3:17-cv-01781-HZ

      v.                                       JURY INSTRUCTIONS

 SEIRUS INNOVATIVE ACCESSORIES,
 INC.,

                  Defendant.




 I - JURY INSTRUCTIONS
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    No. I: Final Jury Instructions-Instructions on your Duties

            Members of the Jury: Now that you have heard all of the evidence and the arguments of

    the attorneys, it is my duty to instruct you as to the law of the case.

           A copy of these instructions will be sent to the jury room for you to consult during your

    deliberations.

            It is your duty to find the facts from all the evidence in the case. To those facts you will

    apply the law as I give it to you. You must follow the law as I give it to you whether you agree

    with it or not. You must not be influenced by any personal likes or dislikes, opinions, prejudices,

    or sympathy. That means that you must decide the case solely on the evidence before you and

    according to the law. You will recall that you took an oath to do so.

            Whether or not you took notes, you should rely on your own memory of the evidence.

    Notes are only to assist your memory. You should not be overly influenced by your notes or

    those of other jurors.




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 No. 2: What is Evidence

        The evidence you are to consider in deciding what the facts are consists of:

        l. The sworn testimony of witnesses;

       2. The exhibits which have been admitted into evidence;

        3. Any facts to which all the lawyers have agreed; and

       4. Any facts that I have instructed you to accept as proved.




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No. 3: What is Not Evidence

        In reaching your verdict, you may consider only the testimony and exhibits received into

evidence. Certain things are not evidence, and you may not consider them in deciding what the

facts are. I will list them for you:

        1. Arguments and statements by lawyers are not evidence. The lawyers are not
            witnesses. What they have said in their opening statements, closing arguments, and at
            other times is intended to help you interpret the evidence, but it is not evidence. If the
            facts as you remember them differ from the way the lawyers have stated them, your
            memory of them controls.

        2. Questions and objections by lawyers are not evidence. Attorneys have a duty to their
            clients to object when they believe a question is improper under the rules of evidence.
            You should not be influenced by the objection or by the court's ruling on it.

        3. Testimony that has been excluded or stricken, or that you have been instructed to
            disregard, is not evidence and must not be considered. In addition, some evidence
            may be received only for a limited purpose; when I have instructed you to consider
            evidence only for a limited purpose, you must do so and you may not consider that
            evidence for any other purpose.

        4.. Anything you may have seen or heard when the court was not in session is not
            evidence. You are to decide the case solely on the evidence received at trial.




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 No. 4: Depositions

        A deposition is the sworn testimony of a witness taken before trial. Tue witness is placed

 under oath to tell the truth and lawyers for each party may ask questions. Tue questions and

 answers are recorded.




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 No. 5: Direct and Circumstantial Evidence

        Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such

 as testimony by a witness about what that witness personally saw or heard or did. Circumstantial

 evidence is proof of one or more facts from which you could find another fact. You should

 consider both kinds of evidence. The law makes no distinction between the weight to be given to

 either direct or circumstantial evidence. It is for you to decide how much weight to give to any

 evidence.




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 No. 6: Credibility of Witnesses

        In deciding the facts in this case, you may have to decide which testimony to believe and

 which testimony not to believe. You may believe everything a witness says, or part of it, or none

 of it. In considering the testimony of any witness, you may take into account:

        L The opportunity and ability of the witness to see or hear or know the things testified
          to;

        2. The witness's memory;

        3. The witness's manner while testifying;

        4. The witness's interest in the outcome of this case, if any;

        5. The witness's bias or prejudice, if any;

        6. Whether other evidence contradicted the witness's testimony;

        7. The reasonableness of the witness's testimony in light of all the evidence; and

        8. Any other factors that bear on believability.

        Sometimes a witness may say something that is not consistent with something else he or

 she said. Sometimes different witnesses will give different versions of what happened. People

 often forget things or make mistakes in what they remember. Also, two people may see the same

 event but remember it differently. You may consider these differences, but do not decide that

 testimony is untrue just because it differs from other testimony.

        However, if you decide that a witness has deliberately testified untruthfully about

 something important, you may choose not to believe anything that witness said. On the other

 hand, if you think the witness testified untruthfully about some things but told the truth about

 others, you may accept the part you think is true and ignore the rest.



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        The weight of the evidence as to a fact does not necessarily depend on the number of

 witnesses who testify. What is important is how believable the witnesses were, and how much

 weight you think their testimony deserves.




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 No. 7: Burden of Proof

        When a party has the burden of proving any claim by a preponderance of the evidence, it

 means you must be persuaded by the evidence that the claim is more probably true than not.

        You should base your decision on all of the evidence, regardless of which party presented

 it.




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 No. 8: Summary of Contentions

        I will now summarize Columbia's contentions in this case. I will then tell you what

 Columbia must prove to win on its contentions. Columbia alleges that Seirus infringed U.S.

 Patent No. D657,093 ("Design Patent") by selling certain Heatwave products. Seirus denies that

 it has infringed the Design Patent.

        Columbia has the burden of proving its claim by a preponderance of the evidence.

        You job is to decide only whether the Design Patent has been infringed. The validity of

 the Design Patent is not at issue.




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 No. 9: Design Patent Claims

        Before you decide whether Seirus has infringed Columbia's Design Patent, you will have

 to understand the design patent claim.

        A design patent's claim defines what is covered by the patent. The claim is typically

 represented by illustrations. It is permissible to illustrate more than one embodiment of a design

 in a single design patent application. Each design patent contains multiple drawings to illustrate

 the claimed design.

         The scope of the claim encompasses the design's visual appearance as a whole. It does

 not cover a general design concept and is not limited to isolated features of the drawings. An

 inventor's subjective intent is not relevant to the scope of the claimed design.




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No. 10: Infringement

       Patent law gives the owner of a design patent the right to exclude others from importing,

making, using, offering to sell, or selling the patented designs within the United States during the

term of the patent. Any person or company that has engaged in any of those acts without the

design patent owner's permission infringes the patent.

       To determine infringement of a design patent, you must compare the overall appearances

of the accused design to the Design Patent. The accused design is Seirus's Heatwave fabric. If

you find by a preponderance of the evidence that the overall appearance of the accused design .is

substantially the s~e as the overall appearance of the Design Patent, you must find that the

accused design infringed the Design Patent.

       Two designs are substantially the same if, in the eye of an ordinary observer, giving such

attention as a purchaser usually gives, the resemblance between the two designs is such as to

deceive an ordinary observer, inducing him to purchase one supposing it to be the other. You do

not need, however, to find that any purchasers were actually deceived or confused by the

appearance of the accused products. You should consider any perceived similarities or

differences between the patented and accused designs. Minor differences should not prevent a

finding of infringement.

       Whether a party knew its products infringed or even knew of the Design Patent does not

matter in determining infringement.




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No. 11: Prior Art

       You must decide what is prior art. Prior art includes things that were publicly known, or

used in a publicly accessible way in this country, or that were patented or described in a

publication in any country before the creation of the claimed design.

       You must familiarize yourself with the prior art in determining whether there has been

infringement. When the claimed design is visually close to prior art designs, small differences .

between the accused design and the claimed design may be important in analyzing whether the

overall appearances of the accused and claimed designs are substantially the same.

       While the evaluation of the prior art may be helpful, please keep in mind that the sole test

for infringement is whether the overall appearances of the accused design and the claimed design

are substantially the same. If you find that the accused design is substantially the same, then you

must find that the accused design infringes the Design Patent.




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 No. 12: Ordinary Observer

        To determine infringement, you must compare the overall appearances of the accused

 design and the claimed design from the perspective of the ordinary observer. The ordinary

 observer is the end consumer who buys and uses Seirus's products.




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 No. 13: Marketing Materials

        You have also heard evidence about Seirus's marketing materials, including its hang tags.

 Seirus' s marketing materials are not the accused design.




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 No. 14: Deliberations

        Before you begin your deliberations, elect one member of the jury as your presiding

 juror. The presiding juror will preside over the deliberations and serve as the spokesperson for

 the jury in court. You shall diligently strive to reach agreement with all of the other jurors if you

 can do so. Your verdict must be unanimous.

        Each of you must decide the case for yourself, but you should do so only after you have

 considered all the evidence, discussed it fully with the other jurors, and listened to the views of

 your fellow jurors.

        It is important that you attempt to reach a unanimous verdict but, of course, only if each

 of you can do so after having made your own conscientious decision. Do not be unwilling to

 change your opinion if the discussion persuades you that you should. But do not come to a

 decision simply because other jurors think it is right, or change an honest belief about the weight

 and effect of the evidence simply to reach a verdict.

        A special verdict form has been prepared for your convenience. You will take this form

 into the jury room.

        (Special Verdict Form is read)

        You will note that there is a question. The answer to the question must be the unanimous

 answer of the jury. Your presiding juror will write the unanimous answer of the jury in the space

 provided opposite the question. All jurors should participate in all deliberations and vote on the

 question.




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         The presiding juror will then date and sign the special verdict form as completed and you

 will advise the bailiff outside your door that you are ready to return to the courtroom. Court will

 then be reconvened and your verdict will be received.

         Your verdict must be based solely on the evidence and on the law as I have given it to

 you in these instructions. Nothing that I have said or done is intended to suggest what your

 verdict should be - that is entirely for you to decide.

         Because you must base your verdict only on the evidence received in the case and on

 these instructions, I remind you that you must not be exposed to any other information about the

 case or to the issues it involves. Except for discussing the case with your fellow jurors during

 your deliberations:

         Do not communicate with anyone in any way and do not let anyone else communicate

 with you in any way about the merits of the case or anything to do with it. This includes

 discussing the case in person, in writing, by phone or electronic means, via email, text

 messaging, or any Internet chat room, blog, website or application, including social media. This

 applies to communicating with your family members, your employer, the media or press, and the

 people involved in the trial. If you are asked or approached in any way about your jury service

 or anything about this case, you must respond that you have been ordered not to discuss the

 matter and to report the contact to the court.

        Do not read, watch, or listen to any news or media accounts or commentary about the

 case or anything to do with it; do not do any research, such as consulting dictionaries, searching

 the Internet or using other reference materials; and do not make any investigation or in any other

 way try to learn about the case on your own. Do not visit or view any place discussed in this

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 case, and do not use Internet programs or other devices to search for or view any place discussed

 during the trial. Also, do not do any research about this case, the law, or the people involved -

 including the parties, the witnesses or the lawyers - until you have been excused as jurors. If

 you happen to read or hear anything touching on this case in the media, turn away and report it to

 me as soon as possible.

        These rules protect each party's right to have this case decided only on evidence that has

 been presented here in court. Witnesses here in court take an oath to tell the truth, and the

 accuracy of their testimony is tested through the trial process. If you do any research or

 investigation outside the courtroom, or gain any information through improper communications,

 then your verdict may be influenced by inaccurate, incomplete or misleading information that

 has not been tested by the trial process. Each of the parties is entitled to a fair trial by an

 impartial jury, and if you decide the case based on information not presented in court, you will

 have denied the parties a fair trial. Remember, you have taken an oath to follow the rules, and it

 is very important that you follow these rules.

         A juror who violates these restrictions jeopardizes the fairness of these proceedings. If

 any juror is exposed to any outside information, please notify the court immediately.

         If it becomes necessary during your deliberations to communicate with me, you may send

 a note through the bailiff, signed by your presiding juror or by one or more members of the jury.

 No member of the jury should ever attempt to communicate with me except by a signed writing.

 Until you have reached your verdict, I will only communicate with jury members on anything

 concerning the case either in writing, or orally here in open c.ourt. If you send out a question, I

 will consult with the lawyers before answering it, which may take some time. You may continue

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     your deliberations while waiting for the answer to any question. Remember that you are not to

     tell anyone--including me--how the jury stands, whether in terms of vote count or otherwise,

     until after you have reached a unanimous verdict or have been discharged.




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